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                     UNITED STATES DISTRICT COURT, IN AND FOR
                         THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


  AMERICAN CLAIMS MANAGEMENT,                     Misc. Action No. 6:19-MC-00025-CEM-GJK
  INC.,
                                               Underlying Case Pending in the United States
         Plaintiff and Counterclaim-Defendant, District Court for the Southern District of
                                               California
       v.
                                               Case No. 18-cv-0925 JLS (MSB)
  ALLIED WORLD SURPLUS LINES
  INSURANCE COMPANY (fka Darwin
  Select Insurance Company),

              Defendant and Counterclaimant.


                             DECLARATION OF JONATHAN E. FEDER

        I, Jonathan E. Feder, hereby declare as follows:

        1.      I am over eighteen years of age and competent to make this declaration.

        2.      I have personal knowledge of all facts set forth herein and would testify to the

 same if called upon to do so.

        3.      I am an Associate with the New York office of Quinn Emanuel Urquhart &

 Sullivan, LLP located at 51 Madison Ave., 22nd Floor, New York, NY 10010.

        4.      Attached hereto as Exhibit A is a true and correct copy of the Order Granting

 Joint Motion for Protective Order entered by the court as Docket No. 38 in the Underlying Case

 pending in the Southern District of California (18-cv-0925).

        5.      Attached hereto as Exhibit B is a true and correct copy of an April 26, 2019 letter

 from counsel for ACM in the Underlying Case Dane Voris to counsel for Allied World in the

 Underlying Case Guyon Knight.
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         6.      Allied World seeks to file under seal a true and correct copy of excerpted pages

 from the final transcript of the April 23, 2019 deposition of Peter Klee in the Underlying Case.

 Portions of the excerpted pages have been redacted by agreement of the parties to protect

 potentially privileged information. A true and correct copy of that document would be filed with

 leave of court as Exhibit C to this Declaration.

         7.      By designating the Klee transcript confidential, ACM has determined that this

 transcript is potentially prejudicial to its business or operations, or to privacy interests of third

 parties or non-parties.

         8.      Pursuant to the terms of the parties’ Protective Order in the Underlying Action,

 counsel for the parties and other persons receiving confidential information must take

 reasonable precautions to prevent the unauthorized or inadvertent disclosure of such information.

 In addition, the parties are prohibited from disclosing confidential information to anyone other

 than the persons expressly identified in the Protective Order, and may not use this information

 for any reason other than litigating the Underlying Action. Allied World and its counsel have

 only made Mr. Klee’s deposition transcript available to persons authorized to access this material

 pursuant to the Protective Order.

         9.      The transcript of the Klee deposition has been provided to litigation counsel for

 ACM, Allied World, and Mark King; Allied World’s in-house counsel; and Allied World’s

 litigation expert. The unredacted opposition brief has been provided to litigation counsel for

 ACM, Allied World, and Mark King, and Allied World’s in-house counsel.

         10.     Upon information and belief, the transcript of the Klee deposition has been

 provided to experts for ACM and in-house counsel at ACM and its parent companies. Upon




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 information and belief, the unredacted opposition brief has been provided to in-house counsel at

 ACM and its parent companies.

        11.     Allied World is not aware of any less onerous existing alternative to sealing the

 transcript of Mr. Klee’s deposition and references to that deposition in Allied World’s brief.

 Information in this transcript concerning the private arbitration and settlement discussions

 between QBE and ACM does not concern public officials or public concerns.

        Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

 true and correct. This declaration was executed on May 9, 2019 in New York, NY.




                                                   Jonathan E. Feder




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                   EXHIBIT A
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                    EXHIBIT B
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  William V. O’Connor                                                                                Via Email
  +1 858 550 6002
  woconnor@cooley.com



  April 26, 2019

  Guyon Knight
  Quinn Emanuel Urquhart & Sullivan, LLP
  51 Madison Ave., 22nd Floor
  New York, NY 100010

  Re: American Claims Management, Inc. v. Allied World Surplus Lines Insurance Co.,
      Case No. 18-cv-0925 JLS MSB

  Dear Guyon:

  ACM hereby designates the entirety of the deposition testimony of Peter Klee as “CONFIDENTIAL.” In
  accordance with section 6(a) of the Protective Order (ECF No. 38), ACM reserves its right to designate
  specific portions of the final deposition transcript, as appropriate.

  During his deposition Mr. Klee offered testimony regarding oral communications made during the course of
  a mediation held in or around June 2016, involving ACM, QBE, Allied World, and other non-party
  participants. We wish to remind you that “[n]o evidence of anything said or any admission made for the
  purpose of, in the course of, or pursuant to, a mediation or a mediation consultation is admissible or subject
  to discovery,” and that such communications must remain confidential. Cal. Evid. Code § 1119. Indeed,
  mediation communications are admissible only upon the express written agreement of all participants. Id.
  at § 1122.

  Mr. Klee’s testimony notwithstanding, ACM, Brown & Brown, and Mr. King have not expressly agreed to
  disclose communications made during the course of the above-referenced mediation. See, e.g., Simmons
  v. Ghaderi, 44 Cal. 4th 570, 585–88 (2008) (no implied waiver exception based on litigation conduct). Nor,
  to ACM’s knowledge, have any of the other mediation participants given their express written consent. See,
  e.g., Silicon Storage Tech., Inc. v. Nat'l Union Fire Ins. Co. of Pittsburgh, PA, 2015 WL 5168696, at *7 (N.D.
  Cal. Sept. 3, 2015) (express waiver ineffective where other mediation participants did not expressly agree
  to disclosure in writing).

  As Mr. Klee’s deposition transcript has been designated as confidential, and neither ACM nor the other
  mediation participants have expressly waived confidentiality in writing, we expect that Allied World will
  govern itself accordingly and refrain from improperly offering into evidence Mr. Klee’s testimony regarding
  confidential mediation communications in this or any other litigation, whether it be at trial or for any other
  purpose, including the pending motion in the Middle District of Florida or any other motions or filings in the
  Southern District of California.

  Sincerely,



  William V. O’Connor



                                   Cooley LLP 4401 Eastgate Mall San Diego, CA 92121
                                       t: (858) 550-6000 f: (858) 550-6420 cooley.com
